             IN THE UNITED STATES DISTRICT COURT FOR THE
                 EASTERN DISTRICT OF NORTH CAROLINA


LARRY LAMB,                                        )
                                                   )
                   Plaintiff,                      )
                                                   )
                       v.                          )         Case No: 7:16-cv-44-FL
                                                   )
BLAKE WALLACE, et al.,                             )         Hon. Louise W. Flanagan
                                                   )
                 Defendants.                       )
                                                   )
                                                   )
                                                   )

                    AMENDED CASE MANAGEMENT ORDER

      This matter is before the Court on the parties Joint Motion to Amend the Court’s

Case Management Order. The parties have shown good cause and the Motion is

GRANTED. The revised case management order is as follows:

                                          I. Discovery

      A.      The parties shall exchange by May 15, 2017, any further information the

              information required by Federal Rule of Civil Procedure 26(a)(1).

      B.      Discovery will be necessary on the following subjects: reference is made to the

              discovery proposed to be undertaken in the parties’ joint report and plan.

      C.      All fact discovery shall be commenced or served in time to be completed by

              March 1, 2019.

      D.      The parties did not raise any issues regarding electronically stored information

              and privileged materials.

      E.      No party shall serve more than 25 interrogatories, including all discrete



           Case 7:16-cv-00044-FL Document 137 Filed 01/13/19 Page 1 of 8
        subparts, to any other party. Responses are due 30 days after service of those

        interrogatories.

F.      No party shall serve more than 25 requests for admissions to any other party.

        Responses are due 30 days after service of those requests for admissions.

G.      There shall be no more than 15 depositions by each plaintiff and 15 by each

        defendant.

H.      Each deposition shall be limited to 7 hours, unless otherwise agreed by the

        parties.

I.      Disclosures required by Federal Rule of Civil Procedure 26(a)(2), including

        reports from retained experts, shall be served by plaintiffs by June 15, 2018,

        and by defendants by July 15, 2018. The parties shall serve any objections to

        such disclosures, other than objections pursuant to Federal Rules of Evidence

        702, 703, or 705, Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579

        (1993), Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999) or similar case

        law, within 14 days after service of the disclosures upon them. These

        objections should be confined to technical objections related to the sufficiency

        of the written expert disclosures (e.g., whether all of the information required

        by Rule 26(a)(2) has been provided, such as lists of prior testimony and

        publications). These objections need not extend to admissibility of the expert’s

        proposed testimony. If such technical objections are served, counsel shall

        confer or make a reasonable effort to confer before filing any motion based

        on those objections.



                                        2
     Case 7:16-cv-00044-FL Document 137 Filed 01/13/19 Page 2 of 8
J.      Supplementations of disclosures under Federal Rule of Civil Procedure 26(e)

        shall be served at such times and under such circumstances as required by that

        rule. In addition, such supplemental disclosures shall be served by April 15,

        2018. The supplemental disclosures served 40 days before the deadline for

        completion of all discovery must identify the universe of all witnesses and

        exhibits that probably or even might be used at trial other than solely for

        impeachment. The rationale for the mandatory supplemental disclosures 40

        days before the discovery deadline is to put opposing counsel in a realistic

        position to make strategic, tactical, and economic judgments about whether to

        take a particular deposition (or pursue follow-up “written” discovery)

        concerning a witness or exhibit disclosed by another party before the time

        allowed for discovery expires. Counsel should bear in mind that seldom

        should anything be included in the final Rule 26(a)(3) pretrial disclosures that

        has not previously appeared in the initial Rule 26(a)(1) disclosures or a timely

        Rule 26(e) supplement thereto; otherwise, the witness or exhibit probably will

        be excluded at trial. See Fed. R. Civ. P. 37(c)(1).

K.      To avoid the filing of unnecessary motions, the court encourages the parties to

        utilize stipulations regarding discovery procedures. However, this does not

        apply to extensions of time that interfere with the deadlines to complete all

        discovery, for the briefing or hearing of a motion, or for trial. See Fed. R. Civ.

        P. 29. Nor does this apply to modifying the requirements of Federal Rule of

        Civil Procedure 26(a)(2) concerning experts’ reports.



                                         3
     Case 7:16-cv-00044-FL Document 137 Filed 01/13/19 Page 3 of 8
L.      Discovery in this case may be governed by a protective order. If the parties

        disagree concerning the need for, and/or the scope or form of, a protective

        order, the party or parties seeking such an order shall file an appropriate

        motion and supporting memorandum. If the parties agree concerning the

        need for and scope and form of a protective order, their counsel shall confer

        and then submit a jointly proposed protective order as soon as is practicable.

        1.     A jointly proposed protective order shall include, in the first paragraph,

               a concise but sufficiently specific recitation of the particular facts in

               this case that would provide the court with an adequate basis upon

               which to make the required finding of good cause for issuance of the

               protective order pursuant to Federal Rule of Civil Procedure 26(c).

        2.     Any proposed protective order shall set out the procedure for filing

               under seal confidential documents, things, and/or information,

               pursuant to the requirements of Stone v. University of Maryland

               Medical System Corp., 855 F.2d 178, 180-181 (4th Cir. 1988).

               Specifically, a proposed protective order shall include the following

               language: “Each time a party seeks to file under seal confidential

               documents, things, and/or information, said party shall accompany the

               request with a motion to seal and a supporting memorandum of law

               specifying (a) the exact documents, things, and/or information, or

               portions thereof, for which filing under seal is requested; (b) where it

               necessary for the court to determine the source of the public’s right to



                                         4
     Case 7:16-cv-00044-FL Document 137 Filed 01/13/19 Page 4 of 8
         access before a request to seal may be evaluated, whether any such

         request to seal seeks to overcome the common law or the First

         Amendment presumption to access; (c) the specific qualities of the

         material at issue which justify sealing such material, taking into account

         the balance of competing interests in access; (d) the reasons why

         alternatives to sealing are inadequate; and, (e) whether there is consent

         to the motion. Finally, in addition to the motion and supporting

         memorandum, said party must set out such findings in a proposed

         order to seal for the court.”

   3.    Before ruling on any motion to seal the court will give the public notice

         of the motion and a reasonable opportunity to challenge it. While

         individual notice is unwarranted, the court will docket the motion

         reasonably in advance of deciding the issue, or, where applicable, the

         court will notify persons present in courtroom proceedings of the

         motion. The court will rule favorably upon any motion to seal only

         after carefully weighing the interest advanced by the movant and those

         interests favoring public access to judicial documents and records, and

         only upon finding that the interests advanced by the movant override

         any constitutional or common law right of public access which may

         attach to the documents, things, and/or information at issue.

   4.    The parties are directed to Section T of the court’s Electronic Case

         Filing Administrative Policies and Procedures Manual, available online



                                  5
Case 7:16-cv-00044-FL Document 137 Filed 01/13/19 Page 5 of 8
               at http://www.nced.uscourts.gov/pdfs/cmecfPolicyManual.pdf, for

               information regarding how to file and serve sealed documents through

               the court’s Case Management / Electronic Case Filing system

               (“CM/ECF”).

                                   II. Motions

A.      Any motion requesting relief shall be accompanied at time of filing with a

        proposed form of order, stating its requested relief.

B.      Any further motion for leave to join additional parties or to otherwise amend

        the pleadings shall be filed by plaintiff by April 15, 2017.

C.      All potentially dispositive motions shall be filed by April 1, 2019. All motions

        to exclude testimony of expert witnesses pursuant to Federal Rules of

        Evidence 702, 703, or 705, Daubert v. Merrell Dow Pharmaceuticals, Inc., 509

        U.S. 579 (1993), Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999), or

        similar case law, shall be filed by the deadline set for dispositive motions.

D.      Any motion to compel discovery shall be filed and served within 30 days of

        the act or omission in discovery complained of, after good faith effort

        between the parties to resolve the matter, unless the time for filing such a

        motion is extended for good cause shown. Prior to any filing, the complaining

        party shall convene a conference among the parties and this court by

        telephone through the office of the case manager, at (252) 638-8534. In the

        event of a discovery dispute of or relating to written discovery, the party

        convening the conference shall send via facsimile transmittal directed to the



                                         6
     Case 7:16-cv-00044-FL Document 137 Filed 01/13/19 Page 6 of 8
        case manager at (252) 638-1529, the submissions in discovery most directly

        bearing on the particular dispute, for the court’s review in advance of

        telephonic conference. Motions to compel filed after the deadline and/or

        without advance conference with the court, absent extenuating circumstances,

        summarily will be denied. Disputes in discovery which are reduced to writing,

        timely filed, and where conference with this court in advance of filing has

        been unable to resolve said dispute, ordinarily will be referred to a magistrate

        judge for ruling.

E.      Any motion to continue must conform with the requirements set forth in

        Local Civil Rule 6.1, and also include a detailed statement as to the reason for

        the requested continuance or extension of time together with the proposed

        order. Continuances will be granted only upon showing of good cause,

        particularly focusing upon the evidence of diligence by the party seeking delay

        and of prejudice that may result if the continuance is denied.

                III. Alternative Dispute Resolution (“ADR”)

A.      A settlement procedure is required in virtually every case, to be conducted

        before the close of discovery if the case is automatically selected for mediation

        pursuant to Local Alternative Dispute Rule 101.1a(b), or before the final

        pretrial conference if not automatically selected.

B.      This case has been automatically selected for mediation. Reference is made to

        Local Alternative Dispute Rule 101.1 et seq. for required deadlines.

C.      If at any time a settlement is reached, it shall be reported immediately to this



                                         7
     Case 7:16-cv-00044-FL Document 137 Filed 01/13/19 Page 7 of 8
              court. The parties shall refer to Local Alternative Dispute Rule 101.1e for their

              specific obligations.

                             IV. Pretrial and Trial Scheduling

       After the court has ruled on any dispositive motion(s), the court will enter a

scheduling order governing deadlines and procedures for final pretrial conference and trial,

as appropriate.

       This case management order shall not be modified except by leave of court upon a

showing of good cause, and all requirements set forth in the court’s Local Civil Rules

governing pretrial and trial procedures not altered herein shall be strictly observed.

       SO ORDERED, this the 13th day of January, 2019.




                                                    ____________________________
                                                    Hon. Louise W. Flanagan
                                                    United States District Court Judge




                                                8
          Case 7:16-cv-00044-FL Document 137 Filed 01/13/19 Page 8 of 8
